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 5
                           UNITED STATES DISTRICT COURT
 6                        EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,               )
 8                                            )     CR-10-6089-RMP-2
                       Plaintiff,             )
 9                                            )     ORDER GRANTING MOTION
      v.                                      )     TO MODIFY RELEASE CONDITIONS
10                                            )
      EFRAIN FLORES,                          )      Ct Rec 90
11                                            )
                       Defendant.             )
12                                            )

13         Mr. Flores motion to move to Colorado to be with his family is

14   GRANTED, provided however, that Pretrial first visits the residence

15   to confirm the residence plan is proper, and provided courtesy

16   supervision can be provided by Pretrial in Colorado.                All other

17   conditions of release remain.

18         IS IT SO ORDERED.

19         DATED January 14, 2011.

20
                                s/ CYNTHIA IMBROGNO
21                        UNITED STATES MAGISTRATE JUDGE

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     ORDER - 1
